   Case 3:08-cr-00006-LRH-WGC                 Document 349     Filed 03/06/12      Page 1 of 1




                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF NEVADA


UNITED STATES OF AMERICA,                 )                   3:08–cr-00006-LRH-WGC
                                          )
                  Plaintiff,              )                   MINUTE ORDER
v.                                        )
                                          )
JENNIFER LYNN FRENCH,                     )                   March 6, 2012
                                          )
                  Defendant.              )
__________________________________________)


PRESENT:         THE HONORABLE LARRY R. HICKS, U.S. DISTRICT JUDGE
DEPUTY CLERK:             NONE APPEARING               REPORTER: NONE APPEARING
COUNSEL FOR PETITIONER(S): NONE APPEARING
COUNSEL FOR RESPONDENT(S): NONE APPEARING
MINUTE ORDER IN CHAMBERS:
       Before the court is Defendant’s Motion to Unseal Transcripts of Sealed Motion Hearing for
Limited Purposes of Responding to Motion to Reconsider Order Denying Jennifer French a New
Trial Pursuant to Federal Rule of Criminal Procedure 33 and, if a New Trial is Not Granted, for
Purposes of Appeal (#3481). Good cause appearing,

        Defendant’s Motion to Unseal Transcripts of Sealed Motion Hearing (#348) is GRANTED
in part. The Clerk of the Court shall grant access to counsel for Jennifer Lynn French and to counsel
for the Government ONLY of the transcript of the September 7 and 8, 2010, hearing (##154, 155)
SOLELY to litigate the motion to reconsider the order denying a new trial pursuant to Rule 33 and
for appeal of a judgment and sentence, if such is ordered.

                                                LANCE S. WILSON, CLERK

                                                By:          /s/
                                                           Deputy Clerk




       1
           Refers to court’s docket number.
